Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30       Desc: Main
                          Document Page 1 of 22



                 IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE DISTRICT OF PUERTO RICO



  EDGARDO        NICOLAS       MARTINEZ        CASE NUMBER 16-05934-BKT
  PEREZ

                                               CHAPTER 13
  DEBTOR(S)

                     Motion Informing Amended Schedules

 TO THE HONORABLE COURT:
       NOW COMES EDGARDO NICOLAS MARTINEZ PEREZ, Debtor in the
 above captioned case, through the undersigned counsel very respectfully alleges
 and requests:
    1. Debtor has amended Schedule A/B to update value on real property in
       light of the sales efforts performed so far and to include unintentionally
       omitted assets as discussed in the 341 meeting.
    2. Schedule I and J are amended to reflect his new income and expenses from
       employment in Miami, Florida and to discontinue certain payments
       associated with the Mirador del Parque property in light of the lift of the
       automatic stay.
    3. Debtor further clarifies that prior to the filing of the bankruptcy petition,
       Debtor solely received Social Security benefits and did not obtain
       employment until after the filing of the bankruptcy petition, consequently,
       the means text reflects zero income.
    WHEREFORE, Debtor requests from this Honorable Court to take notice of
 the aforementioned information with such relief which is just and proper.



       RESPECTFULLY SUBMITTED

       In San Juan, Puerto Rico on this Wednesday, June 07, 2017.


                                         1
Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30    Desc: Main
                          Document Page 2 of 22




       I HEREBY CERTIFY that the foregoing motion has been electronically filed
 through CM/ECF electronic filing system which will serve the same to all parties
 in interest.



                                                      /s/Josué N. Torres Crespo
                                                             USDC No. 229805

                                                Rodriguez & Maldonado-Vélez
                                               Attorneys and Counselors at Law
                                                          COSVI Office Complex
                                                     Esq. Ave. Américo Miranda
                                                   #400 Suite 201, Villa Nevarez
                                                 Rio Piedras, Puerto Rico 00928
                                                         Tel. No. 787-625-1948
                                                             Fax. 787-625-1949




                                        2
          Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                              Desc: Main
                                    Document Page 3 of 22
 Fill in this information to identify your case and this filing:

 Debtor 1                    EDGARDO NICOLAS MARTINEZ PEREZ
                             First Name                                 Middle Name                     Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                     Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF PUERTO RICO

 Case number            16-05934                                                                                                                             Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

    No. Go to Part 2.
    Yes.      Where is the property?




 1.1                                                                            What is the property? Check all that apply
        CALLE SANTA ISABEL #181 REPTO.
        DEL PILAR
                                                                                       Single-family home                        Do not deduct secured claims or exemptions. Put
                                                                                        Duplex or multi-unit building             the amount of any secured claims on Schedule D:
        Street address, if available, or other description                                                                       Creditors Who Have Claims Secured by Property.
                                                                                        Condominium or cooperative
                                                                                  
                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        SAN JUAN                          PR                                           Land                                      entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                              $395,000.00                $395,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                     (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.

                                                                                       Debtor 1 only
                                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another
                                                                                                                                      (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:

                                                                                THE PROPERTY HAS BEEN IN THE OPEN MARKET FOR THE LAST 2
                                                                                YEARS WHICH HAS RESULTED IN THE LOWERING OF THE PRICE
                                                                                REQUESTED TO THE ONE LISTED IN THE SCHEDULES




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                Desc: Main
                                  Document Page 4 of 22
 Debtor 1        EDGARDO NICOLAS MARTINEZ PEREZ                                                                         Case number (if known)          16-05934

       If you own or have more than one, list here:
 1.2                                                                   What is the property? Check all that apply
       CALLE 2 #A-101 COSTA DORADA -
       COSTA REAL
                                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                              Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       Street address, if available, or other description                                                                    Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative
                                                                         
                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       RIO GRANDE                        PR        00000-0000                Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                    $270,000.00                   $270,000.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.

                                                                             Debtor 1 only
                                                                             Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:

                                                                       REGISTRY PROBLEMS AFFECT THE VALUE OF THE VALUE OF THE
                                                                       PROPERTY


       If you own or have more than one, list here:
 1.3                                                                   What is the property? Check all that apply
       COND. MIRADOR DEL PARQUE APT.
       #702-1
                                                                             Single-family home                              Do not deduct secured claims or exemptions. Put
                                                                              Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
       CALLE JUAN B. RODRIGUEZ #405                                                                                          Creditors Who Have Claims Secured by Property.
                                                                              Condominium or cooperative
       Street address, if available, or other description                
                                                                             Manufactured or mobile home
                                                                                                                              Current value of the          Current value of the
       SAN JUAN                          PR                                  Land                                            entire property?              portion you own?
       City                              State              ZIP Code         Investment property                                    $360,000.00                   $360,000.00
                                                                             Timeshare
                                                                                                                              Describe the nature of your ownership interest
                                                                             Other                                           (such as fee simple, tenancy by the entireties, or
                                                                       Who has an interest in the property? Check one         a life estate), if known.

                                                                             Debtor 1 only
                                                                             Debtor 2 only
       County                                                                Debtor 1 and Debtor 2 only
                                                                                                                                   Check if this is community property
                                                                             At least one of the debtors and another
                                                                                                                                  (see instructions)
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:




Official Form 106A/B                                                      Schedule A/B: Property                                                                              page 2
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
         Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                       Desc: Main
                                   Document Page 5 of 22
 Debtor 1         EDGARDO NICOLAS MARTINEZ PEREZ                                                                                Case number (if known)          16-05934

        If you own or have more than one, list here:
 1.4                                                                         What is the property? Check all that apply
        AVE. HOSTOS #453
                                                                                     Single-family home                              Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description
                                                                                      Duplex or multi-unit building                   the amount of any secured claims on Schedule D:
                                                                                                                                     Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative
                                                                                
                                                                                     Manufactured or mobile home
                                                                                                                                      Current value of the          Current value of the
        SAN JUAN                          PR                                         Land                                            entire property?              portion you own?
        City                              State              ZIP Code                Investment property                                    $325,000.00                   $325,000.00
                                                                                     Timeshare
                                                                                                                                      Describe the nature of your ownership interest
                                                                                     Other     BUSINESS                              (such as fee simple, tenancy by the entireties, or
                                                                             Who has an interest in the property? Check one           a life estate), if known.

                                                                                     Debtor 1 only
                                                                                     Debtor 2 only
        County                                                                       Debtor 1 and Debtor 2 only
                                                                                                                                           Check if this is community property
                                                                                     At least one of the debtors and another
                                                                                                                                          (see instructions)
                                                                             Other information you wish to add about this item, such as local
                                                                             property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                           $1,350,000.00

 Part 2: Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

    No
    Yes

  3.1     Make:         TOYOTA                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        LAND CRUISER                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2000                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                    $9,500.00                     $9,500.00
                                                                           (see instructions)



  3.2     Make:         JAGUAR                                          Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                                       the amount of any secured claims on Schedule D:
          Model:        VAN DEN PLAS                                     Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
          Year:         2007                                             Debtor 2 only                                                Current value of the         Current value of the
          Approximate mileage:                                           Debtor 1 and Debtor 2 only                                   entire property?             portion you own?
          Other information:                                             At least one of the debtors and another

                                                                         Check if this is community property                                  $20,000.00                    $20,000.00
                                                                           (see instructions)




Official Form 106A/B                                                             Schedule A/B: Property                                                                               page 3
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                         Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                           Desc: Main
                                  Document Page 6 of 22
 Debtor 1        EDGARDO NICOLAS MARTINEZ PEREZ                                                                      Case number (if known)      16-05934
4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

    No
    Yes
  4.1    Make:       PIPER SENECA                              Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      200T BIMOTOR                               Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:       1979                                       Debtor 2 only                                                Current value of the      Current value of the
                                                                Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
                                                                Check if this is community property                                        $0.00                       $0.00
         OBSOLETE                                                    (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $29,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
    No
     Yes.     Describe.....

                                    COSTA REAL'S SOFA BED                                                                                                             $250.00


                                    COSTA REAL'S TWO SOFA END TABLES                                                                                                  $100.00


                                    COSTA REAL'S TV CREDENZA                                                                                                          $300.00


                                    COSTA REAL'S TV SET                                                                                                               $100.00


                                    COSTA REAL'S DINING TABLE                                                                                                         $400.00


                                    COSTA REAL'S DINING CHAIRS                                                                                                        $300.00


                                    COSTA REAL'S CREDENZA                                                                                                              $75.00


                                    COSTA REAL'S STOVE                                                                                                                $300.00


                                    COSTA REAL'S REFRIGERATOR                                                                                                         $200.00


                                    COSTA REAL'S DISHWASHER                                                                                                           $250.00


                                    COSTA REAL'S DISHWARE                                                                                                             $100.00




Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 4
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                            Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                               Desc: Main
                                  Document Page 7 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                Case number (if known)   16-05934


                                    COSTA REAL'S COOKING UTENSILS AND ACCESORIES                                                         $300.00


                                    COSTA REAL'S SOFA                                                                                    $125.00


                                    COSTA REAL'S CHEZ LOUNGE                                                                             $150.00


                                    COSTA REAL'S FOUR CHAIRS                                                                             $200.00


                                    COSTA REAL'S TWO END TABLES                                                                            $50.00


                                    COSTA REAL'S DINING TABLE                                                                            $100.00


                                    COSTA REAL'S TWO CEILING FANS                                                                        $150.00


                                    COSTA REAL'S BED                                                                                         $0.00


                                    COSTA REAL'S SOFA BED                                                                                $300.00


                                    COSTA REAL'S DRESSER                                                                                 $200.00


                                    COSTA REAL'S CREDENZA                                                                                $250.00


                                    COSTA REAL'S TWO END TABLES                                                                          $150.00


                                    COSTA REAL'S MIRROR                                                                                    $75.00


                                    COSTA REAL'S TV SET                                                                                    $50.00


                                    COSTA REAL'S CEILING FAN                                                                               $75.00


                                    COSTA REAL'S BED                                                                                     $200.00


                                    COSTA REAL'S TWO END TABLES                                                                          $150.00


                                    COSTA REAL'S TABLE                                                                                     $75.00


                                    COSTA REAL'S DRESSER                                                                                 $250.00


                                    COSTA REAL'S MIRROR                                                                                    $75.00


                                    COSTA REAL'S CEILING FAN                                                                               $75.00

Official Form 106A/B                                                 Schedule A/B: Property                                                  page 5
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                               Desc: Main
                                  Document Page 8 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                Case number (if known)   16-05934


                                    COSTA REAL'S BED                                                                                     $200.00


                                    COSTA REAL'S TWO END TABLES                                                                          $150.00


                                    COSTA REAL'S DRESSER                                                                                 $250.00


                                    COSTA REAL'S MIRROR                                                                                    $75.00


                                    COSTA REAL'S CEILING FAN                                                                                 $0.00


                                    COSTA REAL'S CENTRAL AIR CONDITIONER                                                                 $750.00


                                    COSTA REAL'S TWO AIR CONDITIONING TWO WALL UNITS                                                     $200.00


                                    COND. MIRADOR DEL PARQUE'S SOFA                                                                      $600.00


                                    COND. MIRADOR DEL PARQUE'S SOFA END TABLE                                                            $250.00


                                    COND. MIRADOR DEL PARQUE'S SOFA FRONT TABLE                                                          $225.00


                                    COND. MIRADOR DEL PARQUE'S CREDENZA                                                                  $350.00


                                    COND. MIRADOR DEL PARQUE'S ENTRANCE TABLE                                                            $175.00


                                    COND. MIRADOR DEL PARQUE'S AREA CHAIRS                                                               $800.00


                                    COND. MIRADOR DEL PARQUE'S AREA TABLE                                                                $175.00


                                    COND. MIRADOR DEL PARQUE'S AIR CONDITIONER                                                         $3,000.00


                                    COND. MIRADOR DEL PARQUE'S TWO CELILING FANS                                                         $250.00


                                    COND. MIRADOR DEL PARQUE'S DINING TABLE                                                              $450.00


                                    COND. MIRADOR DEL PARQUE'S EIGHT DINING TABLE CHAIR                                                  $800.00


                                    COND. MIRADOR DEL PARQUE'S FLOOR MIRROR                                                              $300.00


                                    COND. MIRADOR DEL PARQUE'S STOVE                                                                     $750.00


                                    COND. MIRADOR DEL PARQUE'S REFRIGERATOR                                                              $900.00

Official Form 106A/B                                                 Schedule A/B: Property                                                  page 6
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                               Desc: Main
                                  Document Page 9 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                Case number (if known)   16-05934


                                    COND. MIRADOR DEL PARQUE'S DISHWASHER                                                                $250.00


                                    COND. MIRADOR DEL PARQUE'S CHIMNEY RANGE HOOD                                                        $300.00


                                    COND. MIRADOR DEL PARQUE'S MICROWAVE                                                                 $175.00


                                    COND. MIRADOR DEL PARQUE'S DISHWARE                                                                  $200.00


                                    COND. MIRADOR DEL PARQUE'S COOKING UTENSILS AND
                                    ACCESORIES                                                                                           $300.00


                                    COND. MIRADOR DEL PARQUE'S AIR CONDITIONER                                                           $600.00


                                    COND. MIRADOR DEL PARQUE'S RECLINABLE CHAIR                                                          $650.00


                                    COND. MIRADOR DEL PARQUE'S CREDENZA                                                                  $335.00


                                    COND. MIRADOR DEL PARQUE'S CEILING FAN                                                               $125.00


                                    COND. MIRADOR DEL PARQUE'S TV SET                                                                    $600.00


                                    COND. MIRADOR DEL PARQUE'S AIR CONDITIONER                                                         $2,000.00


                                    COND. MIRADOR DEL PARQUE'S KING BED SITE                                                             $900.00


                                    COND. MIRADOR DEL PARQUE'S TWO NIGHT TABLES                                                          $300.00


                                    COND. MIRADOR DEL PARQUE'S CEILING FAN                                                               $125.00


                                    COND. MIRADOR DEL PARQUE'S TV SET                                                                    $350.00


                                    COND. MIRADOR DEL PARQUE'S AIR CONDITIONER                                                           $400.00


                                    COND. MIRADOR DEL PARQUE'S CEILING FAN                                                               $125.00


                                    COND. MIRADOR DEL PARQUE'S BEDROOM SET                                                               $450.00


                                    COND. MIRADOR DEL PARQUE'S AIR CONDITIONER                                                           $400.00


                                    COND. MIRADOR DEL PARQUE'S CEILING FAN                                                               $125.00




Official Form 106A/B                                                 Schedule A/B: Property                                                  page 7
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                               Desc: Main
                                  Document Page 10 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                Case number (if known)   16-05934


                                    COND. MIRADOR DEL PARQUE'S DESK                                                                      $350.00


                                    COND. MIRADOR DEL PARQUE'S DESK LAMP                                                                   $50.00


                                    COND. MIRADOR DEL PARQUE'S WASHER DRYER COMBO                                                        $600.00


                                    OFFICE BUILDING'S AIR CONDITIONER                                                                    $350.00


                                    OFFICE BUILDING'S EXECUTIVE DESK                                                                   $1,250.00


                                    OFFICE BUILDING'S SECRETARY DESK                                                                     $400.00


                                    OFFICE BUILDING'S FIVE COMPUTERS                                                                   $1,000.00


                                    OFFICE BUILDING'S TWO AIR CONDITIONERS                                                               $700.00


                                    REPARTO DEL PILAR'S SOFA                                                                             $375.00


                                    REPARTO DEL PILAR'S SOFA FRONT TABLE                                                                 $100.00


                                    REPARTO DEL PILAR'S CREDENZA                                                                         $150.00


                                    REPARTO DEL PILAR'S ENTRANCE TABLE                                                                   $150.00


                                    REPARTO DEL PILAR'S TWO AREA CHAIRS                                                                    $90.00


                                    REPARTO DEL PILAR'S AREA TABLE                                                                         $50.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                  $750.00


                                    REPARTO DEL PILAR'S CEILING LUMINARY                                                                 $350.00


                                    BAR, BAR STOOLS & STORAGE                                                                            $600.00


                                    REPARTO DEL PILAR'S DINING TABLE                                                                     $500.00


                                    REPARTO DEL PILAR'S DINING TABLE CHAIR                                                               $500.00


                                    REPARTO DEL PILAR'S TWO CABINETS                                                                     $500.00


                                    REPARTO DEL PILAR'S DECORATIVE FIGURES FOR CABINETS                                                  $500.00

Official Form 106A/B                                                 Schedule A/B: Property                                                  page 8
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                               Desc: Main
                                  Document Page 11 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                Case number (if known)   16-05934


                                    REPARTO DEL PILAR'S STOVE                                                                            $150.00


                                    REPARTO DEL PILAR'S REFRIGERATOR                                                                     $375.00


                                    REPARTO DEL PILAR'S DISHWASHER                                                                       $150.00


                                    REPARTO DEL PILAR'S MICROWAVE                                                                          $50.00


                                    REPARTO DEL PILAR'S DISHWARE                                                                           $75.00


                                    REPARTO DEL PILAR'S COOKING UTENSILS & ACCESORIES                                                    $250.00


                                    COOKING UTENSILS AND ACCESORIES                                                                      $250.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                  $800.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                  $800.00


                                    REPARTO DEL PILAR'S SOFA                                                                             $250.00


                                    REPARTO DEL PILAR'S CREDENZA                                                                           $50.00


                                    REPARTO DEL PILAR'S TV SET                                                                           $250.00


                                    REPARTO DEL PILAR'S POOL TABLE                                                                       $500.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                  $400.00


                                    REPARTO DEL PILAR'S KING BED SET                                                                     $250.00


                                    REPARTO DEL PILAR'S NIGHT TABLE                                                                        $50.00


                                    REPARTO DEL PILAR'S CEILING LUMINARY                                                                 $175.00


                                    REPARTO DEL PILAR'S TV SET                                                                           $250.00


                                    REPARTO DEL PILAR'S JEWELRY CHEST                                                                      $50.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                  $200.00


                                    REPARTO DEL PILAR'S BEDROOM SET                                                                        $75.00

Official Form 106A/B                                                 Schedule A/B: Property                                                  page 9
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                         Desc: Main
                                  Document Page 12 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                      Case number (if known)     16-05934


                                    REPARTO DEL PILAR'S CEILING FAN                                                                                  $50.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                            $200.00


                                    REPARTO DEL PILAR'S CEILING FAN                                                                                  $50.00


                                    REPARTO DEL PILAR'S AIR CONDITIONER                                                                            $200.00


                                    REPARTO DEL PILAR'S CEILING FAN                                                                                  $50.00


                                    REPARTO DEL PILAR'S WASHING MACHINE AND DRYER                                                                  $300.00


                                    REPARTO DEL PILAR'S CELLAR TABLE & TOOLS                                                                       $250.00


                                    REPARTO DEL PILAR'S PATIO FURNITURE                                                                            $250.00


                                    REPARTO DEL PILAR'S TWO CEILING FANS                                                                           $100.00


                                    REPARTO DEL PILAR'S EMERGENCY GENERATOR                                                                      $1,500.00


                                    REPARTO DEL PILAR'S WATER CISTERN                                                                              $175.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
     No
     Yes. Describe.....
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
    No
     Yes.     Describe.....

                                    COSTA REAL'S PAINTING                                                                                          $750.00


                                    COSTA REAL'S TABLE                                                                                               $75.00


                                    COSTA REAL'S ENTRANCE PAINTING                                                                                 $300.00


                                    COSTA REAL'S THREE PAINTINGS                                                                                   $300.00


                                    CEILING FAN                                                                                                      $75.00


                                    COSTA REAL'S PAINTING                                                                                          $100.00


Official Form 106A/B                                                 Schedule A/B: Property                                                            page 10
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
        Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                    Desc: Main
                                  Document Page 13 of 22
 Debtor 1       EDGARDO NICOLAS MARTINEZ PEREZ                                                    Case number (if known)   16-05934


                                    COSTA REAL'S PAINTING                                                                                     $100.00


                                    COSTA REAL'S PAINTING                                                                                     $200.00


                                    COND. MIRADOR DEL PARQUE'S ENTRANCE PICTURE                                                               $300.00


                                    COND. MIRADOR DEL PARQUE'S PAINTING                                                                     $1,000.00


                                    REPARTO DEL PILAR'S ENTRANCE PICTURE                                                                        $75.00


                                    REPARTO DEL PILAR'S TWO PAINTINGS                                                                         $100.00


9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
     Yes. Describe.....
10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
    No
     Yes.     Describe.....

                                    WALTER PTKS 380 FROM 1978                                                                                 $599.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
     No
     Yes. Describe.....
12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
     No
     Yes. Describe.....
13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
     Yes. Describe.....
14. Any other personal and household items you did not already list, including any health aids you did not list
     No
     Yes. Give specific information.....

 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                $46,549.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                  Current value of the
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured
                                                                                                                              claims or exemptions.




Official Form 106A/B                                                 Schedule A/B: Property                                                       page 11
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
         Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                   Desc: Main
                                   Document Page 14 of 22
 Debtor 1          EDGARDO NICOLAS MARTINEZ PEREZ                                                                                  Case number (if known)   16-05934
16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
     Yes................................................................................................................
17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
    No
    Yes........................                                     Institution name:

                                                          CHECKING
                                              17.1.       ACCOUNT                                SCOTIABANK                                                                 $1,361.00


                                                          CHECKING
                                              17.2.       ACCOUNT                                SCOTIABANK                                                               $14,000.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................                             Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
     No
     Yes. Give specific information about them...................
                                                  Name of entity:                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
     No
     Yes. Give specific information about them
                                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
     Yes. List each account separately.
                                              Type of account:                                   Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
     No
     Yes. .....................                                                                 Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
     No
     Yes.............                Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
     No
     Yes.............                Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
     No
     Yes. Give specific information about them...
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
     No
Official Form 106A/B                                                                      Schedule A/B: Property                                                                  page 12
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
         Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                      Desc: Main
                                   Document Page 15 of 22
 Debtor 1        EDGARDO NICOLAS MARTINEZ PEREZ                                                                                   Case number (if known)       16-05934

     Yes. Give specific information about them...
27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
     No
     Yes. Give specific information about them...
 Money or property owed to you?                                                                                                                                  Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you
     No
     Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
     No
     Yes. Give specific information......

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
     No
     Yes. Give specific information..
31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
     No
     Yes. Name the insurance company of each policy and list its value.
                                             Company name:                                                            Beneficiary:                                Surrender or refund
                                                                                                                                                                  value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
     No
     Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
     No
     Yes. Describe each claim.........
34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
     No
     Yes. Describe each claim.........
35. Any financial assets you did not already list
     No
     Yes. Give specific information..

 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $15,361.00


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
    No. Go to Part 6.
    Yes.     Go to line 38.

Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 13
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
           Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                    Desc: Main
                                     Document Page 16 of 22
 Debtor 1        EDGARDO NICOLAS MARTINEZ PEREZ                                                                                   Case number (if known)       16-05934


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
     Yes. Describe.....

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
    No
     Yes.      Describe.....


                                        OFFICE BUILDING'S XEROX DRAWINGS PLOTTER                                                                                               $2,500.00


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
     Yes. Describe.....

41. Inventory
     No
     Yes. Describe.....

42. Interests in partnerships or joint ventures
     No
     Yes. Give specific information about them...................
                                             Name of entity:                                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
    No.
    Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

               No
               Yes. Describe.....

44. Any business-related property you did not already list
     No
     Yes. Give specific information.........


 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................               $2,500.00

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
       No. Go to Part 7.
       Yes.     Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above




Official Form 106A/B                                                           Schedule A/B: Property                                                                                page 14
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                        Best Case Bankruptcy
         Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                                        Desc: Main
                                   Document Page 17 of 22
 Debtor 1         EDGARDO NICOLAS MARTINEZ PEREZ                                                                                        Case number (if known)   16-05934

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
     No
     Yes. Give specific information.........

 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................               $1,350,000.00
 56. Part 2: Total vehicles, line 5                                                                           $29,500.00
 57. Part 3: Total personal and household items, line 15                                                      $46,549.00
 58. Part 4: Total financial assets, line 36                                                                  $15,361.00
 59. Part 5: Total business-related property, line 45                                                          $2,500.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $93,910.00              Copy personal property total              $93,910.00

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                      $1,443,910.00




Official Form 106A/B                                                               Schedule A/B: Property                                                                               page 15
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
         Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                        Desc: Main
                                   Document Page 18 of 22


Fill in this information to identify your case:

Debtor 1                      EDGARDO NICOLAS MARTINEZ PEREZ

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF PUERTO RICO

Case number               16-05934                                                                       Check if this is:
(If known)
                                                                                                          An amended filing
                                                                                                          A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                               Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                 Not employed                                Not employed
       employers.
                                             Occupation            ENVIROMENTAL ENGINEER
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       CSA CENTRAL, INC

       Occupation may include student        Employer's address    SUITE 300, 6100 BLUE LAGON
       or homemaker, if it applies.                                DRIVE
                                                                   Miami, FL 33126-4695

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $       11,249.33         $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $     11,249.33               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                    page 1
       Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                       Desc: Main
                                 Document Page 19 of 22

Debtor 1    EDGARDO NICOLAS MARTINEZ PEREZ                                                        Case number (if known)   16-05934


                                                                                                   For Debtor 1            For Debtor 2 or
                                                                                                                           non-filing spouse
      Copy line 4 here                                                                     4.      $       11,249.33       $             N/A

5.    List all payroll deductions:
      5a.   Tax, Medicare, and Social Security deductions                                  5a.     $         2,821.13   $                  N/A
      5b.   Mandatory contributions for retirement plans                                   5b.     $             0.00   $                  N/A
      5c.   Voluntary contributions for retirement plans                                   5c.     $             0.00   $                  N/A
      5d.   Required repayments of retirement fund loans                                   5d.     $             0.00   $                  N/A
      5e.   Insurance                                                                      5e.     $             0.00   $                  N/A
      5f.   Domestic support obligations                                                   5f.     $             0.00   $                  N/A
      5g.   Union dues                                                                     5g.     $             0.00   $                  N/A
      5h.   Other deductions. Specify: DENTAL                                              5h.+    $            27.65 + $                  N/A
            MEDICAL                                                                                $           493.09   $                  N/A
            VISION                                                                                 $            13.43   $                  N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,355.30      $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          7,894.03      $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.     $              0.00     $               N/A
      8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
      8c.    Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.     $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.     $              0.00     $               N/A
      8e. Social Security                                                                  8e.     $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                 0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $               0.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $           7,894.03 + $             N/A = $          7,894.03
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         7,894.03
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
         No.
         Yes. Explain: DEBTOR HAS DEVELOPED TWO PROJECTS IN WHICH HE WILL BE RECEIVING COMPENSATION
                             THROUGHOUT 2016.THE FIRST PROJECT, DESIGN OF A WATER TREATMENT PLAN IN PALMAS
                             DEL MAR AND THE SECOND PROJECT, DESIGN OF A WATER TREATMENT PLAN IN VEGA ALTA
                             WILL FUND THE PLAN. A PAYOUT OF 100% OF UNSECURED CREDITORS IS PROJECTED.




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
     Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                              Desc: Main
                               Document Page 20 of 22


Fill in this information to identify your case:

Debtor 1                EDGARDO NICOLAS MARTINEZ PEREZ                                                     Check if this is:
                                                                                                            An amended filing
Debtor 2                                                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:    DISTRICT OF PUERTO RICO                                                   MM / DD / YYYY

Case number           16-05934
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
       No. Go to line 2.
       Yes. Does Debtor 2 live in a separate household?
             No
             Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?              No
      Do not list Debtor 1 and             Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                  No
      dependents names.                                                                                                                 Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
                                                                                                                                        No
                                                                                                                                        Yes
3.    Do your expenses include
      expenses of people other than
                                                  No
      yourself and your dependents?               Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            1,795.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                             0.00
      4c.   Home maintenance, repair, and upkeep expenses                                                 4c.    $                           235.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
      Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                                   Desc: Main
                                Document Page 21 of 22

Debtor 1     EDGARDO NICOLAS MARTINEZ PEREZ                                                            Case number (if known)      16-05934

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 140.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  35.00
      6c.     Telephone, cell phone, Internet, satellite, and cable services                 6c. $                                                 216.10
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                625.47
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                100.00
10.   Personal care products and services                                                    10. $                                                 125.00
11.   Medical and dental expenses                                                            11. $                                                 100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 120.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                    0.00
      15d. Other insurance. Specify: HOMEOWNER'S INSURANCE                                 15d. $                                                  247.92
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: CRIM                                                                          16. $                                                 840.83
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  575.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                 463.00
19.   Other payments you make to support others who do not live with you.                         $                                                  0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  463.41
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:     AEE - OTHER PROPERTIES                                             21. +$                                                220.41
      AAA - OTHER PROPERTIES                                                                      +$                                                91.89
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       6,394.03
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       6,394.03
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,894.03
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              6,394.03

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,500.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
       No.
       Yes.              Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
          Case:16-05934-MCF13 Doc#:82 Filed:06/07/17 Entered:06/07/17 15:05:30                                                          Desc: Main
                                    Document Page 22 of 22




 Fill in this information to identify your case:

 Debtor 1                    EDGARDO NICOLAS MARTINEZ PEREZ
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF PUERTO RICO

 Case number              16-05934
 (if known)
                                                                                                                                   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


               No

         Yes. Name of person                                                                                   Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ EDGARDO NICOLAS MARTINEZ PEREZ                                        X
              EDGARDO NICOLAS MARTINEZ PEREZ                                            Signature of Debtor 2
              Signature of Debtor 1

              Date       June 7, 2017                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
